
717 S.E.2d 385 (2011)
STATE of North Carolina
v.
Christopher Dennie ELLERBE.
No. 220P11.
Supreme Court of North Carolina.
August 25, 2011.
Christopher Ellerbe, for Ellerbe, Christopher Dennie.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 6th of June 2011 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 25th of August 2011."
